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Entered: July 11th, 2022
Signed: July 8th, 2022

SO ORDERED




                                             IN THE UNITED STATES BANKRUPTCY COURT
                                                  FOR THE DISTRICT OF MARYLAND


                         In re:
                                                                           Case No. 21-10214 NVA
                         METS, LLC,
                                                                           Chapter 11 (SBRA)
                                   Debtor.


                                        ORDER GRANTING APPLICATION FOR COMPENSATION
                                          IN A CASE UNDER SUBCHAPTER V OF CHAPTER 11



                                  UPON CONSIDERATION of the Application for Compensation in a Case Under
                    Subchapter V of Chapter 11 (the “Application”), after due and proper notice and any ob-
                    jection thereto, this Court, having considered the Application, hereby makes the following
                    Findings of Fact and Conclusions of Law:
                                  1.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and
                    1334 and 11 U.S.C. § 330.
                                  2.       On March 11, 2021 at Docket No. 27, the Court entered an Order authorizing
                    the employment of The Weiss Law Group, LLC and Brett Weiss as Counsel for the Debtor.
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          3.       Counsel has performed necessary and valuable professional services for the
Debtor.
          4.       The Application seeks approval of compensation in the amount of
$57,380.40 in fees and $371.81 for expenses for a total of $57,752.21 for the period August
31, 2020 to May 27, 2022. A detailed description of the professional services rendered,
including time expended and the dates rendered, was attached to the Application.
          5.       The compensation requested in the Application is reasonable and the relief
requested is appropriate pursuant to 11 U.S.C. § 330 and Rule 2016 of the Federal Rules
of Bankruptcy Procedure.
          Based upon the foregoing findings of fact and conclusions of law, IT IS THERE-
FORE ORDERED, ADJUDGED, AND DECREED that The Weiss Law Group, LLC is
hereby awarded, pursuant to 11 U.S.C. § 503(b)(2), compensation for fees in the amount
of $57,380.40 and expenses in the amount of $371.81, for a total of $57,752.21; and it is
further
          ORDERED that this award shall constitute an allowed administrative expense in
these proceedings, which may be paid immediately upon approval of the Application from
funds currently held in trust by Applicant, and directly by the Debtor as to any balance.

Copies to:         Debtor
                   Debtor’s Counsel
                   U.S. Trustee
                   Subchapter V Trustee
                   All Creditors
                                          END OF ORDER




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